Case 2:16-cv-01445-JRG-RSP Document 11 Filed 03/20/17 Page 1 of 1 PageID #: 60




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES          §
INNOVATIONS, LLC,                     §
                                      §
 Plaintiff,                           §                   Case No: 2:16-cv-1445-JRG-RSP
                                      §
vs.                                   §
LG ELECTRONICS, INC. and              §
LG ELECTRONICS U.S.A., INC.,          §
                                      §
Defendant.                            §
_____________________________________
 .                                    §


                    ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this date, the Court considered Plaintiff Rothschild Connected Devices Innovations,

LLC’s motion to dismiss without prejudice Defendant pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

       Therefore, IT IS ORDERED that Plaintiff’s claims against Defendants LG Electronics, Inc.

and LG Electronics U.S.A. are dismissed without prejudice with each party to bear its own fees

and costs.

SO ORDERED.
      SIGNED this 3rd day of January, 2012.
        SIGNED this 17th day of March, 2017.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
